             Case 1:21-cv-02095-SAG Document 29 Filed 02/28/22 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

FAMILY HEALTH PHYSICAL MEDICINE, *
LLC

Plaintiff,                                       *

v.                                               *            Civil Action No. SAG-21-2095

PULSE8, LLC, et al.,                             *

Defendants.                                    *
                                              ***
                                             ORDER

        For the reasons set forth in the accompanying Memorandum Opinion, it is this 28th day of

February, 2022, by the United States District Court for the District of Maryland, ORDERED that

Defendants’ Motion to Dismiss, ECF 15, is GRANTED. Plaintiff’s claims will be dismissed

without prejudice, but if no motion for leave to amend is filed within thirty days of this Order, the

dismissal will convert to dismissal with prejudice and this case will be closed.


                                                             /s/
                                              Stephanie A. Gallagher
                                              United States District Judge
